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              IN THE CIRCUIT COURT FOR THE FIRST JIUDICIAL CIRCUIT IN AND FOR
                                ESCAMBIA COUNTY, FLORIDA
                                      CIVIL DIVISION

        PATRICIA OLIVERIO

                    Plaintiff,

        vs.                                              CASE NO.:

        DICK'S SPORTING GOODS, INC., a
        foreign profit corporation,

                Defendant.

                                                     /

                                                    COMPLAINT

                Plaintiff PATRICIA OLIVERIO sues Defendant DICK'S SPORTING GOODS, INC.

        and alleges:

                 I.        This is an action for damages that exceeds the sum of THIRTY THOUSAND

        DOLLARS ($30,000.00), exclusive of costs, interest and attorneys' fees.

                2.         The First Judicial Circuit in and for Escambia County, Florida has venue pursuant

        to Section 47.051, Florida Statutes because the cause of action accrued in Escambia County,

         Florida.

                3.         At all times material hereto, Plaintiff PATRICIA OLIVERIO was a natural person

         residing in Escambia County, Florida.

                 4.        At all times material hereto, including December 21, 2019, Defendant DICK'S

         SPORTING GOODS, INC. was and remains a foreign profit corporation licensed and doing

         business in Florida.




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        5.      At all tirnes material hereto, Defendant DICK'S SPORTING GOODS, INC. was the

owner and/or operator of the business DICK'S SPORTING GOODS, INC., a retail store located at

5100 N 9th Avenue, Pensacola, Escambia County Florida, said business being open to the general

public, including the Plaintiff herein.

        6.      At all times material hereto, Defendant DICK'S SPORTING GOODS, INC. was

the owner and in possession and control of the premises and retail store located at or near 5100 N

9`h Avenue, Pensacola, Escambia County Florida where the incident described in this Complaint

occurred.

        5.   ' On or about December 21, 2019, Plaintiff PATRICIA OLIVERIO entered the

Defendant's premises located at the above address to shop when she suddenly and without

warning slipped and fell on water or a similar substance on the floor of Defendant's premises.

        6.      At said time and place, Plaintiff PATRICIA OLIVERIO was lawfully upon the

subject premises of the Defendant.

        7.      At said time and place, Plaintiff PATRICIA OLIVERIO was a business invitee on

the subject premises.

        8.      At said time and place, Defendant DICK'S SPORTING GOODS, INC, owed

Plaintiff a duty to exercise reasonable care for her safety.

        9.      At said time and place, Defendant breached its duty owed to Plaintiff by

committing one or more of the following omissions or commissions:

                a)      Negligently failing to maintain or adequately maintain premises, in that
                        water or a similar substance was allowed to remain on the floor of
                        Defendant's premises, thus creating a slipping hazard to members of the
                        public, including the Plaintiff herein, thus creating an unreasonably
                        dangerous condition for her;




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                b)      Negligently failing to inspect or adequately inspect premises, as. specified
                        above, to ascertain that premises was not being properly kept free of water
                        or a similar substance constituting a slipping hazard to members of the
                        public, including the Plaintiff herein, thus creating an unreasonably
                        dangerous condition to her;


                c)      Negligently failing to inspect or adequately warn the Plaintiff of the
                        danger of water or a similar substance on the floor of Defendant's
                        premises, when Defendant knew, or through the exercise of reasonable
                        care should have known, that said premises was unreasonably dangerous
                        and that Plaintiff was unaware of same; and

                d)      Negligently failing to correct or adequately correct the unreasonably
                        dangerous condition of the water or a similar substance on the floor of
                        Defendant's premises, when said condition was either known to
                        Defendant, or had existed for a sufficient length of time, such that
                        Defendant should have known of same had Defendant exercised
                        reasonable care.

        10.     As a result, while Plaintiff PATRICIA OLIVERIO was visiting Defendant's

business, she slipped and fell on water or a similar substance on the floor of Defendant, DICK'S

SPORTING GOODS, INC.'s premises, sustaining injuries as set forth below.

        11.     As a direct and proximate result of the negligence of Defendant, the PlaintifP

suffered bodily injury in and about her body and extremities, resulting in pain and suffering,

disability, disfigurement, permanent and significant scarring, loss of the capacity for the enjoyment

of life, expense of hospitalization, medical and nursing care and treatment. The losses are either

permanent or continuing and Plaintiff will suffer the losses in the future.

        WHEREFORE, the Plaintiff PATRICIA OLIVERIO demands judgment against

Defendant DICK'S SPORTING GOODS, INC. for damages, costs of this action, interest, and

such other and further relief as this Court may deem meet and just, and demands a trial by jury

on all issues so triable.




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  Plaintiff also demands trial by jury of all issues no triable.

  RESPECTFULLY submitted this 20t ' day of July, 2021.

                                       /s/Jonathan B. Minchin
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